Case 1:17-er-00137-JGK Deeument 512 Filed 11/12/21 Bage 1 ef 4

 

Miedel & Mysliwiec LLP

November 11, 2021
VIA ECF
The Honorabie John G. Koeltl
United States District Court
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

Re: United States v. Michelle Landoy, Desiree Scott, et al., 17 Cr. 137-3 and -4 (JGK)

Dear Judge Koeltl:

I write on behalf of my client, Michelle Landoy, and with consent of counsel on behalf of
Desiree Scott. Both defendants are scheduled to be sentenced by this Court on December 3, 2021, ECF
No. 506.

The government and counsel for the above-captioned defendants are continuing to engage in
discussion about issues related to sentencing. Furthermore, defendant Arif Hameedi’s sentencing is now
scheduled for January 20, 2022 and it is preferable for Ms. Landoy and Ms. Scott to be sentenced after
Mr. Hameedi. In light of the ongoing discussions between the parties and in order to enable counsel to
address sentences for all co-defendants in our submissions, I write to respectfully request adjournments
of Ms, Landoy and Ms. Scott’s sentencings to February 2022.' The government, through AUSA David
Abramowicz, informed me it has no objection to this request.

Thank you for the Court’s consideration of this letter motion.
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=. | —— i/ o I YY Aaron Mysliwiec
(fo ol Attorney for Michelle Landoy

 

ce: Counsel of record (via ECF)

 

'T will be unavailable to appear cither virtually or in person for Ms. Landoy’s sentencing between February 9 and February
16, 2022,

 

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